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     HAROLD J. MCELHINNY (CA SBN 66781)                 WILLIAM F. LEE
 1   hmcelhinny@mofo.com                                william.lee@wilmerhale.com
     MICHAEL A. JACOBS (CA SBN 111664)                  WILMER CUTLER PICKERING
 2   mjacobs@mofo.com                                   HALE AND DORR LLP
     JENNIFER LEE TAYLOR (CA SBN 161368)                60 State Street
 3   jtaylor@mofo.com                                   Boston, MA 02109
     ALISON M. TUCHER (CA SBN 171363)                   Telephone: (617) 526-6000
 4   atucher@mofo.com                                   Facsimile: (617) 526-5000
     RICHARD S.J. HUNG (CA SBN 197425)
 5   rhung@mofo.com
     JASON R. BARTLETT (CA SBN 214530)                  MARK D. SELWYN (SBN 244180)
 6   jasonbartlett@mofo.com                             mark.selwyn@wilmerhale.com
     MORRISON & FOERSTER LLP                            WILMER CUTLER PICKERING
 7   425 Market Street                                  HALE AND DORR LLP
     San Francisco, California 94105-2482               950 Page Mill Road
 8   Telephone: (415) 268-7000                          Palo Alto, California 94304
     Facsimile: (415) 268-7522                          Telephone: (650) 858-6000
 9                                                      Facsimile: (650) 858-6100
10
     Attorneys for Plaintiff and
11   Counterclaim-Defendant APPLE INC.
12
                                    UNITED STATES DISTRICT COURT
13
                               NORTHERN DISTRICT OF CALIFORNIA
14
                                          SAN JOSE DIVISION
15
     APPLE INC., a California corporation,               Case No. 11-cv-01846-LHK (PSG)
16
                       Plaintiff,                        ADMINISTRATIVE MOTION TO
17                                                       FILE UNDER SEAL DOCUMENTS
            v.                                           RE APPLE’S OPPOSITION TO
18                                                       SAMSUNG’S MOTION TO
     SAMSUNG ELECTRONICS CO., LTD., a                    EXCLUDE OPINIONS OF CERTAIN
19   Korean corporation; SAMSUNG                         OF APPLE EXPERTS
     ELECTRONICS AMERICA, INC., a New
20   York corporation; and SAMSUNG
     TELECOMMUNICATIONS AMERICA,
21   LLC, a Delaware limited liability company,
22                     Defendants.
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     MOTION TO FILE UNDER SEAL DOCUMENTS RE APPLE’S OPPOSITION TO MOT. TO EXCLUDE EXPERT OPINIONS
     CASE NO. 11-CV-01846-LHK (PSG)
     sf-3150856
       Case 5:11-cv-01846-LHK Document 991 Filed 05/31/12 Page 2 of 3



 1           In accordance with Civil Local Rules 7-11 and 79-5, and General Order No. 62, Apple Inc.
 2   (“Apple”) submits this motion for an order to seal the following documents or portions thereof:
 3       1. The confidential, unredacted version of Apple’s Opposition to Samsung’s Motion to
 4           Exclude Opinions of Certain of Apple’s Experts (“Opposition”);
 5       2. The Declaration of Terry L. Musika, CPA in Support of Apple’s Opposition to Samsung’s
 6           Motion to Exclude Opinions of Certain of Apple’s Experts (“Musika Declaration”);
 7       3. Exhibits A through R and V through AA to the Musika Declaration, which have been
 8           designated as confidential as set forth below;
 9       4. The Declaration of John Hauser (“Hauser Declaration”);
10       5. Exhibit A to the Hauser Declaration, which has been designated as confidential as set
11           forth below;
12       6. Exhibits A through C, E, H, and I, and M through Q to the Declaration of Mia Mazza in
13           Support of Apple’s Opposition to Samsung’s Motion to Exclude Opinions of Certain of
14           Apple’s Experts (“Mazza Declaration”), which have been designated as confidential as set
15           forth below.
16           Exhibits A, B, K, L, M, W, Y, Z, and AA to the Musika Declaration, Exhibit A to the
17   Hauser Declaration, and Exhibits M through Q to the Mazza Declaration contain information that
18   is highly confidential as set out in the Declaration of Cyndi Wheeler in Support of Apple’s
19   Administrative Motion to File Documents Under Seal (“Wheeler Declaration”), filed herewith
20   under seal. It is Apple’s policy not to disclose or describe to third parties its confidential financial,
21   trade secrets, or product development information. (Wheeler Declaration ¶ 5.) The Apple-
22   confidential material in these exhibits relates to such confidential information, as detailed in the
23   Wheeler Declaration. (Id. ¶¶ 2-5.) This information is highly confidential to Apple. (Id.) The
24   information described above could be used by Apple’s competitors to Apple’s disadvantage if
25   disclosed publicly. (Id.) The relief requested in this motion is necessary and is narrowly tailored
26   to protect confidential information, focusing only on specific portions of the documents at issue.
27   (Id. ¶ 8.)
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     MOTION TO FILE UNDER SEAL DOCUMENTS RE APPLE’S OPPOSITION TO MOT. TO EXCLUDE EXPERT OPINIONS
     CASE NO. 11-CV-01846-LHK (PSG)                                                                         1
     sf-3150856
       Case 5:11-cv-01846-LHK Document 991 Filed 05/31/12 Page 3 of 3



 1          Exhibits C, D, E, F, G, H, I, J, N, O, P, Q, R, V, and X to the Musika Declaration, and
 2   Exhibits E, H, and I to the Mazza Declaration, contain materials that Samsung has designated as
 3   confidential under the protective order entered in this case. Apple expects that, pursuant to Civil
 4   Local Rule 79-5(d), Samsung will file a declaration seeking to establish good cause to permit the
 5   sealing of these materials. Apple also separately submits the Declaration of Mark D. Selwyn in
 6   Support of Apple’s Motion to File Documents under Seal regarding third party confidential
 7   material contained in Exhibit I to the Mazza Declaration.
 8          In addition, the Musika Declaration and Exhibits A, B, L, M, Y, Z, and AA thereto; the
 9   Hauser Declaration and Exhibit A thereto, and Exhibits A, B, and Q to the Mazza Declaration
10   contain highly confidential damages- and survey-related expert materials, which the parties have
11   stipulated should be submitted to the Court under seal and not placed on the public record.
12   (Wheeler Decl. ¶ 6.)
13          Finally, to the extent Apple’s Motion and the Musika and Hauser Declarations refer to or
14   discuss the above-referenced materials, they could be used to Apple’s disadvantage by
15   competitors if they were not filed under seal, for the same reasons. (Id. ¶ 6.)
16          Pursuant to Civil Local Rule 79-(c), Apple will lodge with the Clerk the documents at
17   issue with the sealable portions highlighted.
18

19   Dated: May 31, 2012                             MORRISON & FOERSTER LLP
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21                                                   By:   /s/ Michael A. Jacobs
                                                           MICHAEL A. JACOBS
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                                                           Attorneys for Plaintiff
23                                                         APPLE INC.
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     MOTION TO FILE UNDER SEAL DOCUMENTS RE APPLE’S OPPOSITION TO MOT. TO EXCLUDE EXPERT OPINIONS
     CASE NO. 11-CV-01846-LHK (PSG)                                                                        2
     sf-3150856
